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                           UNITED STATES DISTRICT
                          COURT FOR THE DISTRICT OF
                                 COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
         v.                                   : CRIMINAL NO. 21-CR-00708 (RCL)
                                              :
LEO CHRISTOPHER KELLY,                        :
     Defendant.                               :


               CONSENT MOTION TO CONTINUE STATUS HEARING

         The defendant, Leo Kelly, through his attorney, Kira Anne West, respectfully files this

Consent Motion to Continue the Status Hearing in the above-captioned matter, currently

scheduled for February 25, 2022 until a date after March 8, 2022. In support thereof, the

defendant states as follows:

   1. On January 18, 2021, the defendant was arrested and charged by Criminal Complaint

         with one count of Obstruction, in violation of Unlawful Entry on Capitol Grounds,

         violation of 18 U.S.C. § 1752(a)(1) and (4). On December 3, 2021, the defendant was

         indicted with 7 counts, to include the felony 18 U.S.C. § 1512.

   2. The government and counsel for the defendant have conferred and are continuing to

         communicate in an effort to resolve this matter. The government is also gathering

         discovery to provide to counsel for the defendant. Counsel for the defendant has a

         personal commitment on February 25th, 2022 and will not be available for the status

         hearing.

   3.     Undersigned counsel has communicated with AUSA James who does not oppose this

         motion and both parties are available after March 8, 2022. The parties, therefore, would

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        respectfully request that the status hearing be continued until a date after March 8,

        2022. The parties agree that the interests and ends of justice are best served and

        outweigh the interests of the public and the defendant in a speedy trial, and that this

        adjournment will allow the parties to continue negotiations in an effort to achieve a

        resolution before trial. Therefore, the parties agree that pursuant to 18 U.S.C. § 3161,

        the time from February 25, 2022 through the next court date shall be excluded in

        computing the date for speedy trial in this case.



       Wherefore, the parties respectfully request that the Court continue the status hearing in

this matter until sometime after March 8, 2022, or to a date after that date convenient to the

Court’s calendar.

                                      Respectfully submitted,

                             By:       /s/
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                                    Washington, D.C. 20002
                                    202-232-2042
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                                    Counsel for Mr. Kelly




                           UNITED STATES DISTRICT COURT
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                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                   :
                                            :
         v.                                 : CRIMINAL NO. 21-CR-708(RCL)
                                            :
 LEO CHRISTOPHER KELLY,                     :
          Defendant.                        :



                                           ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon

consent, it is therefore

        ORDERED that the parties shall appear for a Status Hearing at_______ on

_________________, 2022. It is further

        ORDERED that pursuant to the representations made by the parties, the interests and

ends of justice are best served and outweigh the interests of the public and the defendant in a

speedy trial. Pursuant to 18 U.S.C. § 3161, the time from February 25, 2022 through

_____________, 2022 shall be excluded in computing the date for speedy trial in this case.




                                            ______________________________________
                                            Hon. Royce C. Lamberth
                                            United States District Judge




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